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                          IN THE UNITED STATES COURT OF APPEALS



                                        FOR THE FOURTH CIRCUIT



                                               No. 23-1125



         Sines, at al. Plaintiffs vs.


         Kessler, at al, Defendants


         Civil Action 3:I7-cv-00072-NKM-JCH




               PRO SE APPELLANT DEFENDANT CANTWELL^S STAGGERING


              CONFUSION AT PLAINTIFF CROSS APPELLANTS' REPLY BRIEF




                                        ENTIRETY OF STATEMENT



         The last I heard of this case was when the Court informed me that my case had

         been joined with that of my co-Defendants. On the evening of this writing, I

         received Plaintiffs' "Reply Brief and I have not the vaguest idea what they are

         replying to.


         It stands out as conspicuous to me that they continue to assert as the basis of their

         argument that I was found liable for racially motivated violence.
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         The thrust of my brief in this case is that we were not found liable for anything of

         the sort. I have heard no decision on this. The verdict is plainly at odds with the

         Plaintiffs' assertion, since this was the only theoiy of liability for the federal

         counts, and no verdict was reached thereon.


         The Plaintiffs then asked the lower Court to dismiss those counts with prejudice.


         Without anyone contacting me, or waiting two weeks for me to respond, the

         District Court granted that motion stating that "Counsel" had agreed.

         Well, I do not have Counsel, and nobody consulted me about consenting.


         Had the Plaintiffs' motion not been granted, they could still sue us for that which

         they claim to have prevailed on here. It seems to me they sought this motion to

         advance their argument before this Court.


         But their argument is plainly meritless.


         If we were found liable for racially motivated violence, there would have been a

         verdict on the federal counts. No such verdict was reached, and we were thus held

         liable for something other than that.


         We were found liable under a statute which could find liability for harassment. We

         were not sued for harassment, the case would have been tossed if we were, and we
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         were not found liable for the violent conspiracy alleged, and so the theory of

         liability here is invalid.


         To the best of my knowledge, this has not been disputed.


         The Plaintiffs outright ignore this fact and continue to assert that which is facially

         preposterous.


         I hope this Court means to correct the wrong that was done here, because it is

         obvious, and history will judge those who let this wrong stand.




         Respectfully Submitted,
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         Christopher Cantwell


         August 2     2023
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